                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                   DANVILLE DIVISION

  UNITED STATES OF AMERICA )
                           )
  V.                       )                     CASE NO. 4:18CR00011-01
                           )
  MARCUS JAY DAVIS         )

       DEFENDANT’S OBJECTIONS TO UNITED STATES JURY INSTRUCTIONS

         Comes Now Defendant, Marcus Jay Davis, and submits these objections to the jury

  instructions proffered by the United States.

         The Defendant objects to the following Government proposed jury instructions.

         Instruction No. 2 – Judging the Evidence – The contents of this instruction are covered

  in other instructions so its inclusion only serves to unnecessarily lengthen the charge. Also,

  paragraph 2 would be confusing to the jury. Upon first reading it seems to suggest that the

  defendant must prove that he is not guilty beyond a reasonable doubt.

         Instruction No. 3 – Evidence Received in the Case - Defendant objects to this

  instruction and would proffer the Court’s Instructions regarding evidence limitations and

  stipulations located at Document 880, page 10-11 and 15, 7:16-cr-30026 (omitting paragraph 2

  on page 10) as they are more succinct and less confusing. Particularly confusing in the

  Government’s instruction are the last two paragraphs which appear to contradict other

  instructions in the charge.

         Instructions No. 4 and 5 – Direct and Circumstantial Evidence and Inferences from

  the Evidence. Defendant objects to these instructions and would proffer the Court’s Instruction

  regarding Direct and Circumstantial Evidence located at Document 880, page 12, 7:16-cr-30026

  as it is more succinct, a clearer statement of the law, and less likely to confuse the jury.




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          Instruction No. 7 – The Question is Not Evidence – This instruction is unnecessary,

  serving only to lengthen the charge, is confusing, and is not a clear statement of the law.

          Instruction No. 9 – Presumption of Innocence, Burden of Proof, and Reasonable

  Doubt - Defendant objects to this instruction and would proffer the Court’s Instructions

  regarding these issues located at Document 880, pages 3 and 4, 7:16-cr-30026 as they are a

  clearer articulation of the issues.

          Instruction No. 12 – The Indictment is Not Evidence - Defendant objects to this

  instruction and would proffer the Court’s Instruction regarding this issue located at Document

  880, page 23, 7:16-cr-30026 as it is more succinct, a clearer articulation of the law, and less

  confusing to the jury.

          Instruction No. 14 – Proof May Be Disjunctive – This instruction will be very

  confusing to the jury and is covered in the charge regarding the elements of the offenses.

          Instruction No. 15 – Defendant objects to this instruction as confusing, and would

  proffer the Court’s Instruction regarding witnesses with plea agreements located at Document

  880, page 21, 7:16-cr-30026.

          Instruction No. 17 – Specific Investigative Techniques Not Required – This

  instruction is an incorrect statement of law. Attacking the thoroughness and/or shoddiness of the

  Government’s investigation is a valid line of defense. Kyle v. Whitley, 514 U.S.419, 445 fn 13

  (1995); Juniper v. Zook, 876 F.3d 551, 570 4th Cir. 2017).

          Instruction No. 18 – False Exculpatory Statements – While the trial evidence may

  show that some form of a “false exculpatory statement” instruction may be appropriate; the

  Defendant finds this specific one objectionable. It unnecessarily emphasizes this particular type

  of evidence and infers that the Defendants must establish their innocence. If the Court is inclined




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  to give a “false exculpatory statement” instruction, the Defendant would like the opportunity to

  submit another version.

         Instruction No. 20 – Immediate Flight of concealment – Defendant objects to this

  instruction unless and until there is sufficient evidence presented to make it relevant.

         Instruction No. 23 - – Defendant objects to this instruction and would proffer the

  Court’s Instruction regarding credibility of witnesses located at Document 880, page 17, 7:16-cr-

  30026 as it is more succinct and less confusing.

         Instruction No. 24 – Law Enforcement Witnesses – Defendant objects to this

  instruction and would proffer the Court’s Instruction regarding law enforcement witnesses

  located at Document 880, page 22, 7:16-cr-30026 as it is less confusing for the jury and a more

  accurate statement of the law.

         Instruction No. 29 – Testimony – Accomplices, Informers, Immunity and Plea

  Agreements – Defendant objects to this instruction and would proffer the Court’s Instruction

  regarding witnesses with plea agreements located at Document 880, page 18, 7:16-cr-30026 or

  an alternative instruction which will be tendered by the Defendant.

         Instruction No. 31 – Motive – This instruction is unnecessary because the issue of

  motive is covered by the instructions defining willfulness, knowingly, and intent.

         Instruction No. 33 – Deliberate Ignorance - This instruction is unnecessary because the

  issue of motive is covered by the instructions defining willfulness, knowingly, and intent.

         Instruction No. 34 – Responsibility for Substantive Offense – This instruction

  addresses the crime of aiding and abetting under 18 U.S.C. Section 2. Therefore, it is

  inappropriate to read it in the general instructions. Rather, where the indictment alleges a

  violation of 18 U.S.C. Section 2, an aiding and abetting instruction should be given to the jury.




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          Instructions 35 and 36 – Unindicted or Absent Co-conspirators and Success of

  Conspiracy Immaterial – Defendant objects to these instructions as they make the charge

  unnecessarily lengthy and their contents are contained in the other instructions as a whole.

          Instruction No. 37 – Agent of the Defendant – This instruction is confusing and an

  incorrect statement of the law. Also, whatever proper purpose it may have is addressed in the

  instructions for conspiracy and aiding and abetting.

          Instruction No. 40 through 47 -Elements of RICO Conspiracy – Defendant objects to

  these instructions and the Government’s articulation of elements of the offense. Also, these

  instructions are unnecessarily lengthy and confusing to the jury. Defendant would proffer the

  Court’s instructions regarding the Elements of RICO conspiracy located at Document 880, pages

  34-46, 7:16-cr-30026. (Defendant will submit these instructions with the facts relevant to the

  instant case).

          Instruction No. 53 – Position in or Associated with the Enterprise – The Defendant

  objects to this instruction because it contains unnecessary definitions, is unnecessarily lengthy,

  and is confusing to the jury.

          Instruction No. 54 – Purpose to Maintain or Increase Position in the Enterprise or

  to Gain Entrance into the Enterprise – Defendant objects to this instruction as it is an incorrect

  statement of the law. Specifically, Defendant objects to the word “general” in the first sentence

  because it is not in the statutory definition. Similarly, the last sentence in paragraph one is not in

  the statutory definition. Finally, the examples in paragraph two should be omitted because they

  interfere in the province of the jury.




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         Instruction No. 58 – Elements of 18 U.S.C. Section 924(j) – Defendant objects to this

  instruction and particularly the last sentence, which Defendant believes to be a

  mischaracterization of the law.

         Instructions 67 – 69 – Aiding and Abetting firearms charges – Defendant objects to

  these instructions.

                                                               Respectfully submitted,
                                                               Marcus Jay Davis

                                                               By: s/Anthony F. Anderson
                                                                  Counsel for Defendant

                                                               By: s/Beverly M. Davis
                                                                   Counsel for Defendant

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                                      CERTIFICATE OF SERVICE

              I hereby certify that this 4th day of October, 2019, I electronically filed the foregoing with
  the Clerk of Court using the CM/ECF system which will send notification to all counsel of record
  including the following:

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